                Case 4:20-cv-05640-YGR         Document 1542-69            Filed 05/07/25         Page 1 of 1


        Private channel #amp-wisconsin - 2023-06-21 (UTC)                        Private             6/21/2023, 9:36 PM UTC

        Atusa Savio, Jeehye Woo, Raf Onak and Sabine Krueger



              Atusa Savio
         AS
              @Raf Onak when can you target sending copy to @Sean Cameron?            6/21/2023, 9:36 PM UTC




                       Raf Onak
                RO
                       @Atusa Savio working on some options right now and should have             6/21/2023, 10:46 PM
                       them ready by end of day/tomorrow morning                                  UTC

                            :thankyoublue: 2



              Atusa Savio
         AS
              Tracking tasks for new sheet here: https://quip-                                       6/21/2023, 10:01 PM
              apple.com/vb7HAO3KRRbE#temp:C:Sccf292f8a5adb947b88182d8d31                             UTC



              Sabine Krueger
         SK
              @Sabine Krueger has joined the channel   6/21/2023, 10:56 PM UTC




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